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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                NORTHERN DIVISION

THOMAS GUTHRIE                                                                         PLAINTIFF

v.                                    3:20-cv-00214-JM-JJV

STATE OF ARKANSAS, et al.;                                                         DEFENDANTS

                                             ORDER

       The Court has reviewed the Partial Recommendation submitted by United States

Magistrate Judge Joe J. Volpe and Plaintiff’s objections. After conducting a de novo review, this

Court adopts the Partial Recommendation in its entirety as its findings in all respects.

       IT IS THEREFORE ORDERED that:

       1.      Plaintiff may proceed with his conditions of confinement claim against Defendant

Sheriff Mark Counts and Jail Administrator Serena Martin.

       2.      Defendants the State of Arkansas and the Arkansas Supreme Court are

DISMISSED with prejudice.

       3.      Defendants Huff, Erwin, Grider, Boyce, Cooper, Glen, and Metzin are

DISMISSED without prejudice.

       4.      It is certified, pursuant to 28 U.S.C. ' 1915(a)(3), that an in forma pauperis appeal

from this Order would not be taken in good faith.

       Dated this 19th day of October, 2020.

                                                           ________________________________
                                                           UNITED STATES DISTRICT JUDGE
